         Case 4:11-cr-00223-BSM Document 87 Filed 04/10/14 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                            CASE NO. 4:11CR00223 BSM

WAYNE EARL JONES, JR. AND
TIMOTHY VERNARD WILLIAMS                                                     DEFENDANTS

                                          ORDER

       For reasons stated on the record during the April 10, 2014, telephone hearing, if

defendants put forth an entrapment defense, the United States will be allowed to present

evidence of prior bad acts as follows:

       As to defendant Wayne Earl Jones, the United States may present evidence of his prior

convictions for criminal mischief, criminal attempt to commit residential burglary,

aggravated assault, misdemeanor firearm possession, possession with intent to distribute,

possession of drug paraphernalia, and felon in possession. The United States may not offer

evidence of his prior conviction for perjury. As to defendant Timothy Williams, the United

States may present evidence of his prior convictions for felon in possession, robbery and theft

of public benefits, his April 27, 2011 arrest for possession, the uncharged July 28, 2011,

cocaine sale, and the uncharged July 25, 2011, murder of Turner Coleman. The United

States may also call witnesses to present testimony that Jones and Williams dealt drugs and

used firearms. These acts are relevant to the issue of entrapment and proving defendants’

predisposition to commit the crimes charged, not overly remote in time and sufficiently

similar to the acts charged, and their value is more probative than prejudicial. United States
        Case 4:11-cr-00223-BSM Document 87 Filed 04/10/14 Page 2 of 2




v. Coleman, 284 F. 3d 892, 894 (8th Cir. 2002).

      IT IS SO ORDERED this 10th day of April 2014.



                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
